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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



 JOHN DOE,                                            *   ACTION NO.: 2:19-CV-
                                                      *   13425-WBV-JCW
                Plaintiff                             *
                                                      *   SECTION: “D” DISTRICT
 v.                                                   *   JUDGE VITTER
                                                      *
 THE ADMINISTRATORS OF THE TULANE                     *   MAGISTRATE: JUDGE
 EDUCATIONAL FUND,                                    *   WILKINSON
                                                      *
                Defendants                            *
                                                      *

 *      *       *       *      *      *       *       *

PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION FOR
 LEAVE TO TAKE PERPETUATION DEPOSITION OF LEX KELCH-BRICKNER

       Plaintiff John Doe, through undersigned counsel, respectfully files this Memorandum in

opposition to Defendant, The Administrators of the Tulane Educational Fund’s (“Defendant” or

“Tulane”), motion for leave to take perpetuation deposition of Lex Kelch-Brickner after the

December 27, 2019 discovery deadline and in lieu of her live testimony at the January 8, 2020

preliminary injunction hearing.

       As Defendant details in its motion, the expedited discovery schedule in this matter is

exceedingly tight, and consists of eleven depositions in addition to document production and other

preparation necessary for the parties’ appearance at the preliminary injunction hearing on January

8. Squarely in the middle of that schedule, of course, are the Christmas and New Year holidays.

Defendant now seeks to force an additional deposition of a witness who has been deposed once

already, for a perpetuation deposition made necessary only by Defendant’s refusal to question the




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witness at her initial deposition, during which there was ample time. Defendant’s request is

unreasonable.

       Contrary to Defendant’s characterization, consent to a perpetuation deposition is not being

“inexplicably withheld” by Plaintiff. Defendant notes that it emailed Plaintiff’s counsel on

December 16 at 6:49 p.m. that Ms. Kelch-Brickner would not be made available to testify at the

January 8 hearing, and “Defendant received no response and no objection from any of Plaintiff’s

counsel to this e-mail.” Def. Mtn. at 3. As Defendant knows, Plaintiff’s counsel was conducting

depositions in this matter all day on December 16 and 17, after which counsel travelled to North

Carolina for the deposition of this very same witness and deposed the witness on December 18.

Plaintiff can certainly represent to this Court that his counsel is working day and night to prepare

for each day of depositions and prepare for the January 8-9 hearing.. Plaintiff’s counsel discussed

with Defendant’s counsel his reasons for objecting to a perpetuation deposition the morning of the

deposition on December 18.

       Plaintiff’s counsel noted that there was plenty of time for Defendant’s counsel to question

Ms. Kelch-Brickner that day, obviating the need for a perpetuation deposition. While Defendant

calls this offer a “belated demand by Plaintiff’s counsel,” it was neither a demand nor an

unreasonable solution; indeed, it was the most appropriate one. Plaintiff’s Notice of Deposition

for Ms. Kelch-Brickner’s December 18 deposition stated that “the deposition will be conducted

pursuant to the Federal Rules of Civil Procedure and will be taken for all purposes consistent

therewith, including perpetuation.” (See Exhibit A.) Defendant apparently became aware of

Ms. Kelch-Brickner’s scheduling conflict on December 16, and by December 18, Plaintiff had not

consented to a perpetuation deposition; Defendant should therefore have been prepared to question




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Ms. Kelch-Brickner at the deposition. Furthermore, Plaintiff had arranged for the video recording

of that deposition, so that such testimony could be used at trial.

       Plaintiff, too, has fully cooperated in all respects with the expedited discovery schedule.

Plaintiff’s counsel traveled to Charlotte, North Carolina, in the middle of a week during which six

other depositions were taking place in New Orleans, in order to depose Ms. Kelch-Brickner.

Defendant’s counsel proposed only a single possible date for Ms. Kelch-Brickner’s deposition and

indicated that it must take place in North Carolina. (See Exhibit B.) Plaintiff’s counsel cooperated

with both the date and the location, at great time and expense under this expedited discovery

schedule. If Defendant were permitted to take a perpetuation deposition, counsel would again

have to travel to North Carolina—this time only days prior to the January 8 hearing. There is

simply not enough time for Plaintiff’s counsel to fly to and from the east coast yet again while

preparing for the January hearing, at which the burden of proof is Plaintiff’s. Defendant has

offered to take the deposition by video, but that is insufficient; Plaintiff’s counsel would want to

be present for any additional deposition of this witness.

       Contrary to Defendant’s assertion, allowing a perpetuation deposition under these

circumstances is too burdensome, and given Defendant’s opportunity to question Ms. Kelch-

Brickner at her deposition, it is also unreasonable. This Court made clear to both parties at the

initial status conference that witnesses would be deposed once in this matter, for all purposes.




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Plaintiff respectfully requests that this Court deny Defendant’s request to take a perpetuation

deposition of Ms. Kelch-Brickner.

December 20, 2019

                                           Respectfully Submitted,

                                           /s/ Ellie T. Schilling
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                                                   -and-

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